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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )
                                              )                8:16CR256
      vs.                                     )
                                              )                  ORDER
MARCUS LEROY SANDERS,                         )
                                              )
                    Defendant.                )
                                              )


       This matter is before the court on defendant’s unopposed motion to continue trial
[48]. Counsel needs additional time for investigation. The defendant has complied with
NECrimR 12.1(a). For good cause shown,

      IT IS ORDERED that the motion to continue disposition is granted, as follows:

      1. The disposition hearing, currently set for December 13, 2016 is continued to
         January 24, 2017.

      2 In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
        justice will be served by granting this continuance and outweigh the interests of
        the public and the defendant in a speedy trial. Any additional time arising as a
        result of the granting of this motion, that is, the time between today’s date and
        January 24, 2017 shall be deemed excludable time in any computation of time
        under the requirement of the Speedy Trial Act. Failure to grant a continuance
        would deny counsel for the defendant the reasonable time necessary for
        effective preparation, taking into account the exercise of due diligence. 18
        U.S.C. § 3161(h)(7)(A) & (B)(iv).

      DATED November 23, 2016.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
